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 9
                              UNITED STATES DISTRICT COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11                               SAN FRANCISCO DIVISION

12                                                   Case No. 17-CV-02162 EMC
      FOOD & WATER WATCH, INC., et al.,
13
                                                     DEFENDANTS’ PROPOSED NOTICE OF
                           Plaintiffs,
14                                                   RECENT DEVELOPMENT RE:
                    v.
                                                     DEFENDANTS’ THIRD MOTION IN
15                                                   LIMINE
      U.S. ENVIRONMENTAL PROTECTION
16    AGENCY, et al.,
                                                     Date: April 3, 2020
                                                     Time: 1:30 p.m.
17                         Defendants.
                                                     Place: Courtroom 5, 17th floor
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      Defendants’ Proposed Notice of Recent Developments Re: Defendants’ Third Motion in Limine
                                                                    Case No. 17-cv-02162 EMC
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 1            EPA hereby notifies the Court of a significant factual development regarding Defendant’s
 2   Third Motion in Limine to Exclude the Draft National Toxicology Program (“NTP”) Monograph.
 3   ECF No. 141. The NTP asked the National Academies of Sciences, Engineering, and Medicine
 4   (“the National Academies”) to review the Draft NTP Monograph.1 As stated in EPA’s motion for
 5   leave to file this proposed notice, the National Academies convened a committee, which focused
 6   on whether the evidence as presented in the Draft NTP Monograph supported the NTP’s
 7   conclusions. On March 5, 2020, the committee published its findings and suggestions on how to
 8   cure deficiencies in the Draft NTP Monograph in a publicly available consensus study report.2 The
 9   consensus report is attached as Exhibit A to the motion to leave to file this proposed notice. The
10   NTP will now revise its draft report.
11            This development amplifies the arguments EPA made in its motion to exclude the Draft
12   NTP Monograph. The Draft NTP Monograph’s conclusions are tentative, and Plaintiffs’ attempt
13   to include the Draft NTP Monograph without a sponsoring witness or other expert testimony to
14   assist the Court would prejudice EPA and confuse the issues. Third Mot. in Limine 3–4, ECF No.
15   141; see also Order 3, ECF No. 115 (denying request for limited additional expert discovery
16   regarding Draft NTP Monograph in part because the release would “be a draft version of the
17   document only”). The National Academies committee’s findings underscore the potential for
18   inclusion of the Draft NTP Monograph to cause confusion. Given particular deficiencies in the
19   NTP’s analysis, the National Academies committee “d[id] not find that NTP has adequately
20   supported its conclusion” that fluoride is presumed to be a cognitive neurodevelopmental hazard
21   to humans. Nat’l Academies Rev. 4, Exhibit A (emphasis added). The National Academies
22   committee further stated that the NTP should “state clearly that the monograph is not designed to
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25           Defined terms have the same meaning as attributed to them in Defendant’s Third Motion
     in Limine.
     2
26           The National Academies issued an online press release announcing that this report was
     released on March 5, 2020. NEWS, Peer Review of NTP Monograph on Fluoride Exposure and
27   Neurodevelopmental and Cognitive Health Effects – New Report March 5,
     https://www8.nationalacademies.org/onpinews/newsitem.aspx?RecordID=0322020 (last visited
28   March 13, 2020).

         Defendants’ Proposed Notice of Recent Developments Re: Defendants’ Third Motion in Limine
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 1   be informative regarding decisions about fluoride concentrations for water fluoridation.” Nat’l
 2   Academies Rev. 2, 4, Exhibit A.
 3          For all the reasons stated in EPA’s Third Motion in Limine, and in consideration of this
 4   new development, the Court should exclude the Draft NTP Monograph. Alternatively, the parties
 5   agree that if the Court permits the introduction of the Draft NTP Monograph, the Court also permit
 6   the introduction of the National Academies’ review of the Draft NTP Monograph.
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 8   Date: March 13, 2020
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                                                  Respectfully Submitted,
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11                                                /s/ Simi Bhat
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                                                  Brandon N. Adkins
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      Defendants’ Proposed Notice of Recent Developments Re: Defendants’ Third Motion in Limine
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